Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 1 of eL
                                                            7 ERK:
                                                               Pageid#:
                                                                   oFFicE40
                                                                         tJ.suDlsl.couv
                                                                                 ATRoAsoc ,vA
                                                                                      F7
                                                                                       Ijyjj.
                                                                                JAN 3 2212
                                                                              JULLA C.DUD Y,CLERK
                                       IN TH E                               sy: DEPL ;;;
                          UNITED STATES DISTRICT CO URT                               uqrs
                                                                                         ,

                                      FO R THE
                          W ESTERN DISTRICT OF W RG INIA
                              HA RRISO NBUR G DIW SIO N


 UNITED STATES O F AM ERICA                        )
                                                   )
 V.                                                )      Crim inalN o:5:11cr00045
                                                   )
                                                   )
 JOH N STUART D OW ELL                             )




                      JOINT DISCOVERY AND INSPECTION ORD ER



        TH IS DA Y cam ethe United States ofAm erica,by itsAttom ey,and the Defendants,by

 cotmsel,and m oved the Courtforentry ofan Ordergovem ing the provisionsofdiscovery by the

 respectivepartiesinthiscase,pursuanttoRules16and 12,1,12.2,12.3and6(e)oftheFederal
 RulesofCrim inalProcedure. W hereupon,the Attorney fortheUnited Statesand counselforthe

 Defendant moved the Courtto approve and order the following schedule ofdiscovery and

 inspection in thiscmse,which said M otion theCourtgranted;itistherefore

       ADJU DGED and O RDERED thatthe United StatesofA mericaperm itthe defendantto

 inspect,copy and/orphotop aph:

            (1) any relevantwritten orrecorded statementsmade by the defendant or
       copiesthereof,withinthepossession,custodyorcontrolofthegovernment,the
       existence of which is known,or by the exercise of due diligence m ay become

       known,to the atlorney for the govenunent;the substance of any oralstatem ent
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 2 of 7 Pageid#: 41




       which the governm ent intends to offer in evidence atthe trialby the defendant

       whetherbeforeoraherarrestinresponseto interrogationbyanypersonthen known

       to thedefendantto beagovernm entagent;and recorded testim ony ofthedefendant

       beforea grandjurywhich relatestotheoffensecharged. Ifthedefendantisa
       corporation,pa% ership,u sociation orlabortmion,thecourtgrantsthedefendant

       discoveryofrelevantrecordedtestimonyofanywitnessbeforeagrandjurywho(a)
       w as,atthe time ofthattestim ony,so situated asan officerorem ployeeasto have

       beenablelegallyto bindthedefendantinrespecttoconductconstitutingi eoffense,

       or(b)was,atthetimeoftheoffense,personallyinvolved intheallegedcondud
       constituting the offense and so situated msan oftk erorem ployee asto have been

       able legally to bind the defendnntin respectto thatalleged conductin which the

       witnessw asinvolved.

           (2)Suchcopyofthedefendant'spriorcriminalrecord,ifany,msiswithinthe
       possession,custody,orcontrolofthegovelmm ent,theexistenceofwhich isknown,

       or by the exercise of due diligence may becom e know n,to the attom ey forthe

       governm ent.

           (3) Books,papers,documents,photographs,tangible objects,buildingsor
       places,orcopiesorportions thereof,which are within the possession,custody or

       control of the govem m ent,and which are m aterial to the preparation of the

       defendant'
                s defense orare intended forusebythe governm entasevidence in chief

       atthe trial,orw ere obtained from orbelong to tbe deftndant.



                                             2
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 3 of 7 Pageid#: 42




           (4)Anyresultsorreportsofphysicalormentalexnminations,andofscientifk
       testsorexperim ents,orcopiesthereof,which arew ithin thepossession,custody,or

       controlofthe governm ent,the existenceofwhich isknown,orby the exercise of

       duediligencem aybecom eknow n,totheattorneyforthegovernment,andwhichare

       m aterialto thepreparation ofthedefenseorareintended foruse by thegovem m ent

       asevidence in chiefatthed al.

           (5)WrittenmlmmaryoftestimonythatthegovernmentintendstouseunderRules702,
       703 or 705 ofthe FederalRulesofEvidence during itscase-in-chief,asrequired by Rule

       16(a)(1)(E)oftheFederalRulcsofCriminalProcedure.
           (6)Anystatementsofawitnessthatisinthepossessionofthegovernmentandwhich
       relatestothesubjectmatterofthewitness'stestimony,pursuanttoF.R.Cr.P.26.24a)and
       Title 18,United States Code,Section 3500.

           (7) In connection with the disclostlre or any materials referenced in the above
       paragraphsand in accordnnce with 18U.S.C.93509(m),any propertyormaterialthat
       constituteschildpornography(asdefnedin 18U.S.C.j2256)shallremaininthecare,
       custody,and control of the Government. The Govem m ent will m ake such materials

       reasonably availableforinspection,view ing,and exnm ination ata Governm entfacilityby

       the defendant,his attom ey,and,if applicable,any individualthe defendantm ay seek to

       qualify to fum ish experttestim ony attrial. Any such person reviewing the m aterialon

       behalfofthe defendantshallnotm ake,norperm itto be m ade,any copies ofthe child

       pornography contraband and shallnotrem oveanycontrabandimagesfrom theGovernm ent

       facility.
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 4 of 7 Pageid#: 43




        IT ISFURTHER Oo ERED thattheunitedStatesprovidetotheDefendantanyevidence

 ofanexculpatory nature,msdesned in Bradv v.M arvland,373 U.S.83 (1973),andthosecasès
 intem reting thatopinion.

        IT IS FURTHER ORDERED thattheUnitedStatesprovidetotheDeftndnntanynotice

 ofany evidencethatitintendsto introducepursllnntto Rule 404*)oftheFederalRulesof
 Evidence.

       IT IS FURTHER O RDERED thatthedefendantperm ittheattorney fortheUnhed States

 to insm ct,copy and/orphotograph:

             (1) anybooks,papers,documents,photopaphs,tnngibleobjects,orcopiesor
        portions thereof, which are within the possession, custody, or control of the

        defendantand which the defendantintendsto inkoduceasevidence in chiefatthe

        trial.

             (2) anyresultsorreportsofphysicalormentalexaminationjandofscientifk
       testsorexperim entsm ade in connection w iththeparticularcase,orcopiesthereof,

        within thepossession,orcontrolofthedefendant,and which tlw defendantintends

       to introduce asevidence in chiefatthe trialorwhich was prepared by a w itness

        whom thedefendnntintendsto callatthetrialwhen theresultsorreportsrelateto

       thatw itness'testim ony.

             (3)W rittensummaryoftestimonythatthedefendantintendstouseunderRules702,
        703 or705 ofthe FederalRulesofEvidence during its case-in-chief,asrequired by Rule

        16(b)(1)(C)oftheFederalRulesofCriminalProcedure.
           (4)Any statementsofawhnessthatisin thepossession ofthedefendantand which

                                             4
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 5 of 7 Pageid#: 44




        relatestothesubjectmatterofthewhness'stestimony,pursuanttoF.R.Cr.P.26.2(a).
        IT IS FU RTH ER O RDEQ ED thatthe accused disclose whetherhe intendsto introduce

 evidencetoestablishanalibi,andifso,thatwithinthetimelimitssetforthinF.R.Cr.P12.1(a),the
 defendantstate the specific place orplaces atwhich he claim s to have been atthe tim e ofthe

 alleged offenseand then@m esand addressesofthew itnessesupon whom thedefendantintendsto

 rely to establish such alibi.

        IT IS FURTH ER OR DERED,pursuanttoF.R.CHm .P.12.2,that,ifthedefendantintends

 to rely upon a defense ofinsanity orto introduce experttestim ony relating to am entaldisease or

 defectorany otherm entalcondition ofthedefendantbeming upon theissueofguilt,thedefendant

 shallnotifythegovernmem inwritingofsuch intentionandtileacopy ofsuch noticew ith theclerk.

        IT IS FURTH ER O RDERED,pursuanttoF.R.CHm .P.12.3,that,ifthedefendantintends

 to claim adefenseofactualorbelieved exerciseofpublicauthorityonbehalfofa law enforcem ent

 ofFederalintelligence agencyatthetime ofthealleged offense,the defendantshallserveuponthe

 attorney for the Governm ent a m itten notice of such intention,and thatthe parties otherwise

 comply w ith F.R .CHm .P.12.3.

        IT IS FURTH ER O RDERED that,exceptforgood cause shown, thepartiesprovide the

 above-ordered discoveryand inspectionnotlaterthan 14daysbeforetrialatthe officeoftheUnited

 StatesA ttorney oratsuch otherplaceœsthe partiesshallm utually agree.

        IT IS FURTHER ORDERED,pursllnnttoFederalRulesofCrim inalProcedme6(e),16,
 and26.2,26U.S.C.j96103(h)(4)(D)and(i)(4)(A),andtheauthorityofthisCourttoadminister
 its proceedings,and on m otion ofthe United States,itis ORDERED thatthe U nited States is

 permitted to disclose to counsel for the defense as partof volu tary discovery,grand jury

                                               5
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 6 of 7 Pageid#: 45




 transcripts,#nv inform ation,and otherinvestigativem aterials.

        IT IS FURTH ER O RDERED that the United States m ay use this m aterial for the

 prosecution ofthecaseand may m ake such furtherdisclosuresasmay benecessmy for,and forthe

 sole pup oseof,prosecuting thiscase.

        IT ISFURTHERORDERED+M COUnSeIforthedefenseandtheindividualdefendantts)
 m ayusethism aterialsolely forthedefenscofi ecc e,m aynotphotoùopyu ym ateHisdesignated

 inwritingbytheUnitedStatesexceptasneededfordefenseofthee-qqe(anyphotocopyisgoverned
 bythisorderasifitwmsanoriginal),maynotremoveanymaterialsdesignatedinwritingbythe
 United Statesfrom the om ce ofdefensecounselllnlesskeptin the personalpossession ofdefense

 counselatal1tim es,m ay notdisclose any materialsdesignated in writing by the United Statesto

 anyperson otherthan counseland staffdirectly assistingin thedefenseofthe instantcmse,and may

 notdisclose ordiscussany m aterialsdesi> ated in writing by the United Stateswith any person

 exceptin the presence ofdefensecounseland asnecessary to thepreparation ofthedefense,oras

 permittedby furtherorderofthecourt.Unauthorized disclosureofgrandjury,tax return,or
 investigative m aterialsisa violation offederallaw and violation oftM s Orderm ay be deem ed a

 contemptofcourtpursusntto 18U.S.C.j401.Childpornopaphyevidencecontainsthefurther
 resi ctionsthataresetforth above.

        IT IS FURTH ER O RDERED thata11 parties and counsel becom e fam iliarw ith and

 complyw1t11theprivacyprotectionsaccorded tominorspursllnntto 18U.S.C.j3509(d).
        Ifthe defendantdoesnotw ish to receivethe above described m aterials,itis ordered and

 directed:

        (l)thatthe Courtand the United StatesAttorney'softice be so advised in m iting upon

                                                6
Case 5:11-cr-00045-MFU Document 21 Filed 01/13/12 Page 7 of 7 Pageid#: 46




 receiptofthisorder;and

        (2)thatthedefendantand/ordefendant'scotmselnotexamineorreadanymaterialscovered
 by thisorder.

        IT IS FURTHER O RDEQED thatif,priorto orduring trial,aparty discoversadditional

 evidenceormaterialpreviouslyrequestedorordered,whichissubjed todiscoveryorinspection
 undertlw RulesofCrim inalprocedure,suchpartyshallprom ptlynotifytheotherpartw orthatother

 party'sattorney,orthe courtofthe existence ofthe additionalevidence orm aterial.

        IT IS FU RTH ER O QDERED thattheClerkofthisCourtshallcertify copiesofthisorder

 to each attonwy who becomes counselin this cast at anytim e and to any party acting pro se.

 However,ifan Indictm entin thiscase istmderseal,theClerk should delay sending a copy ofthis

 Orderto defense counseluntiltheunsealing ofthe lndictment.
        ENTEQED this1-
                     50-
                      .dayofJanuary,2012

                                            Kw/- -'rg r4e.K z-,p -.
                                             IJNITED sm 'rsjDIàTRICT7UDGE
 SEEN AN D AGREED:


 /s/Nancy S.H ealey
 N ancy S.Healey
 A ssistantUnited StatesAttorney

 /s/Dr cv Katzin
 TrialAttom ey
 Child Exploitation and Obscenity Sed ion
 U .S.DepartmeàtofJustice

  /s/JoelHoppe
 JoelHoppe
 CounselforDefendant
